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                                      Manuel Moses, Esq.
                              Moses Law Office of New York PLLC
                                 236 West 26th Street Suite 303
                                  New York, New York 10001
                                     (212) 736-2624 ext. 11
                                      (212) 981-0528 Fax.
                                   manuelmoses@icloud.com

     May 6, 2025

     Hon. Robert M. Levy
     United States Court Eastern District of New York
     225 Cadman Plaza East
     Brooklyn, New York 11201

     Re: Marques v. Indian Taj. Inc. d/b/a Santoor Indian Restaurant, Et. Al.
     Case No. 1:20-cv-05855-DG-RML
     Letter Motion for the Appointment of a G.A.L. for Kirpall Singh.

     Your Honor:

     I represent Defendant Ms. Jugraj Kaur, the wife of Kirpall Singh, in the above-captioned
     matter. Pursuant to Federal Rule of Civil Procedure 17(c) and in light of the compelling
     evidence of Mr. Singh's cognitive impairment, I respectfully move for the appointment of
     a Guardian ad Litem (GAL) to represent his interests in this proceeding.

     Attached herewith and submitted under seal for the Court's review is the affirmed
     neurological report of Mr. Kirpall Singh (Exhibit 1A). This report unequivocally
     demonstrates Mr. Singh's cognitive disability and his consequent inability to meaningfully
     participate in these legal proceedings. While this report was previously disclosed to all
     parties, an objection was raised by Plaintiff's counsel, Steven Moser, due to the absence of
     a physician's affirmation. To address this, my client diligently obtained the requisite
     affirmation, which is now included within the sealed exhibit.

     In further support of this application, I respectfully direct the Court's attention to the
     Affidavit of Ms. Jugraj Kaur (Exhibit 1), which provides crucial context regarding her
     husband's condition and the necessity for a GAL. The medical report substantiating Mr.
     Singh's cognitive impairment is attached thereto as (Exhibit 1 A.) Proof of the original
     service in this matter was at the restaurant at a time when he was no longer an owner, and
     the complaint was not personally served on my client. In sum and substance, the family
     had no notice. See (Exhibit 1 B.)

     The central purpose of this application is to ensure Mr. Kirpall Singh's interests are fully
     and independently represented through the appointment of a GAL. I have identified and
     spoken with an experienced attorney, Anthony J. Cassese, who was referred by the family
     and has consented to serve in this capacity. Mr. Cassese's involvement will provide crucial
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     independent oversight as I continue to represent both husband and wife in seeking to vacate
     the default judgment and lift the bank restraint on their joint account. I will diligently
     defend the action on behalf of both parties, with the benefit of Mr. Cassese's guidance and
     advocacy for Mr. Singh's specific needs.

     I am pleased to report that the following defense firms have indicated they do not oppose
     this application: the Law Office of Bhavleen Sabharwal, P.C.; and Vincent T. Pallaci, Esq.
     of Kushnick | Pallaci PLLC. I understand that Plaintiff's counsel, Mr. Moser, intends to file
     a separate statement and, upon information and belief, may oppose this motion.

     Given the significant impact of Mr. Singh's cognitive impairment on his ability to
     participate in this litigation and the critical need to protect his interests, I urge the Court to
     grant this motion for the appointment of Anthony J. Cassese as Guardian ad Litem for Mr.
     Kirpal Singh and initiate a motion to vacate his default judgment.

                                           Respectfully Submitted,



                                           Manuel Moses, Esq.
